Case: G-tb1920871-JJAopanen2G-Rilectilea NB /20K. GRAD Ke! 497

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Ohio Sixth Circuit Gaull. Of Arpeals AUG 14-2023.
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